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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION

D.A.N. JOINT VENTURE III, L.P.,               )
as Assignee of Bankruptcy Trustee             )
Richard M. Fogel, the Chapter 7 Trustee       )
For the Bankruptcy Estate of Debtor           )     Case No. 1:18-cv-00349
Nicholas S. Gouletas,                         )     Judge Robert M. Dow
                        Plaintiff,            )
                                              )
      v.                                      )
                                              )
DOROTHEA TOURIS, et al.,                      )
                 Defendants.                  )

 DOROTHEA TOURIS’S MEMORANDUM OF LAW IN SUPPORT OF HER
 MOTION TO DISMISS THE FIRST AMENDED COMPLAINT PURSUANT
    TO RULES 12(b)(6) and 9(b) and MOTION TO JOIN AND ADOPT
   DEFENDANT NATEL MATSCHULAT’S RULE 12(b)(6) MOTION TO
       DISMISS BASED ON PLAINTIFF’S LACK OF STANDING

      Defendant Dorothea Touris (“Ms. Touris”), by her attorney, and in support

of her motions pursuant to FED. R. CIV. P. 12(b)(6) and 9(b) to: (1) dismiss

plaintiff’s First Amended Complaint (“Complaint”) and (2) join and adopt

defendant Natel Matschulat’s Rule 12(b)(6) motion to dismiss based on plaintiff’s

lack of standing (Doc. #68), respectfully submits her memorandum of law in

support of her motions, and states as follows:

                                INTRODUCTION

      Ms. Touris moves to dismiss plaintiff’s complaint pursuant to Rules

12(b)(6) and 9(b) on several bases. The first addresses plaintiff’s lack of standing



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to bring this action, requiring that it be dismissed, with prejudice, in its entirety.

The others address plaintiff’s failure to state claims upon which relief may be

granted, including its failure to plead facts with the particularity for fraud as

required by Rule 9(b), specifically as to Counts I, IV, V, VI, VII and VIII.

      I.     Plaintiff Lacks Standing to Pursue this Matter.

      Plaintiff ’s complaint purports to allege claims for fraudulent conveyance

under the Illinois Uniform Transfers Act, 740 ILCS 160/1 et seq. (“the IUFTA”).

Plaintiff further attempts to allege common law causes of action against Ms.

Touris for civil conspiracy to commit fraud, aiding and abetting fraud, “tortious

interference with expectancy of collection upon judgments against Gouletas,”

and “reimbursement of funds owed to Gouletas prior to the time that he filed for

bankruptcy.” Plaintiff asserts all of its claims in this matter as the assignee of

claims that allegedly could have been asserted by the Chapter 7 bankruptcy

trustee (“Trustee”) of debtor Nicholas Gouletas’s (“Gouletas” or “Debtor”)

bankruptcy estate.

      However, the trustee, from whom plaintiff purports to have purchased

these “litigation claims and alter-ego claims” (Doc. #11, ¶51), has no authority to




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assign or transfer any of these claims to a third party, such as this plaintiff. 1

Consequently, plaintiff lacks standing to bring this action.

       In the interest of judicial economy and efficiency, Ms. Touris joins in and

adopts defendant Natel Matschulat’s Rule 12(b)(6) motion to dismiss (Doc. #68)

which specifically provides the reasons and law warranting the dismissal of

plaintiff’s claims for its lack of standing. Therefore, for all the reasons set forth in

that motion, the complaint should also be dismissed, with prejudice, in its

entirety, for lack of standing as to Ms. Touris as well.



       II.   Counts I and IV Alleging Fraudulent Transfers Require Dismissal
             for Failure to State a Claims for Relief.

       At Counts I and IV, plaintiff purports to assert two claims for “Avoidance

of Fraudulent Transfers” pursuant to the Illinois Uniform Transfers Act, 740 ILCS

160/1 et seq. (“the IUFTA”). But neither count alleges claims upon which relief

may be granted against Ms. Touris given the absence of facts pled to support

these claims.




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  Ms. Touris joins and adopts defendant Natel Matschulat’s motion to dismiss plaintiff’s
complaint brought for lack of standing, and for the same reasons. That motion is
presently being considered by the Court. (Doc. #68) Accordingly, Ms. Touris requests
that the Court stay its consideration and disposition of the remaining parts of her
instant motion to dismiss with respect to Counts I, V, VI and VII, until the Court has
litigated and disposed of defendant Natel Matschulat’s motion to dismiss on lack of
standing pursuant to Rule 12 (b)(6).
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      1.     Plaintiff’s Claim Under §5(a)(1) Fails to State a Claim for Relief.

      In attempting to fashion a claim pursuant to the IUFTA §5(a)(1) at Count I,

plaintiff alleges that Ms. Touris, was an “insider” within the meaning of the

IUFTA “because Touris acted as a ‘managing agent’ for the handling, use and

distribution of Gouletas’ funds.” (Doc. #11 at ¶57) However, the complaint is

devoid of any facts that support its claim that Ms. Touris was debtor’s

“managing agent,” and, thereby, an insider under the IUFTA.

      Since Ms. Touris is not an “insider” to individual debtor Gouletas as

provided for individual debtors by the IUFTA, plaintiff reaches beyond those

statutory terms, and, instead, qualifies the meaning of “managing agent” by

suggesting that Ms. Touris “acted as” a “managing agent.” But this attempt to

modify that IUFTA definition and foist this reduced status upon Ms. Touris is of

no avail because the “managing agent” relationship is one which exists within

the formal corporate or partnership context – not one which found to be between

mere friends.

      The IUFTA defines an “insider” in relation to an individual debtor, such as

Gouletas, as either: (a) a relative of the debtor of a general partner of the debtor;

(b) a partnership in which the debtor is a general partner; (c) a general partner in

a partnership described in clause (b); or (d) a corporation of which the debtor is a




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director, officer, or person in control. 740 ILCS 160/2(g)(1). Clearly, Ms. Touris

does not qualify as an insider under any of these definitions.

      Undaunted, plaintiff moves on to the remaining IUFTA insider definitions

and chose to apply the term “managing agent.” 740 ILCS 160/2(g)(5) Apparently

realizing that this term is also not relevant to individual debtors, but, rather,

applies to formal business entities and their relationships with business

associates, plaintiff claims that Ms. Touris was an ‘insider’ within the meaning of

740 ILCS 160/2(g)(5) because she “acted as a ‘managing agent’ of Gouletas for

the handling, use and distribution of Gouletas’ funds.” (Doc. #11 at ¶57)

However, the only relationship pled to have existed between Gouletas,

individually, and Ms. Touris, is that they were friends and that she did design

work for American Invsco. (Doc. #11 at ¶21)

      Plaintiff further attempts to bolster its preference by claiming that

“Gouletas had been sued as well as threatened with further suits,” and merely

imputes that knowledge upon Ms. Touris. But plaintiff does not (and cannot)

plead that Ms. Touris had known that Gouletas had been sued or threatened

with more actions. (Id.). Indeed, there are no allegations pled that Ms. Touris

had knowledge of any judgments, citations or lawsuits against Gouletas.

      In A.G. Cullen Constr., Inc. v. Burnham Partners, LLC, 29 N.E.3d 579 (Ill.

App. 1st 2015) the Illinois Appellate Court addressed the question of a managing


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agent qualifying as an insider under the IUFTA provision advanced by plaintiff

here, albeit in the context of business entities, not individuals. 2 The relevant facts

in that case include that defendant Burnham Partners LLC, an Illinois limited

liability real estate development company, created Westgate Ventures LLC, to

develop a warehouse and distribution facility. Westgate was governed by the

Westgate Ventures I, LLC, limited liability agreement (LLC agreement). The LLC

agreement named defendant Burnham as the initial manager of Westgate and

listed numerous duties of the manager, including acquisition, ownership,

improvement, sale, and lease of company property.

       Westgate and Burnham later entered into a development and asset

management agreement (development agreement) in which Burnham agreed to

provide development services to Westgate, including purchasing land, hiring an

architect, engineers, and contractors, overseeing construction of the building,

finding a tenant, and ultimately, selling the building. The development

agreement also provided that the duties of the project manager, Burnham, would

be performed and supervised by Robert Halpin and that Westgate would pay

Burnham a development management fee. Id., at 29 N.E.3d 582.




2
 A search for cases involving the IUFTA’s managing agent meaning in the context of an
individual debtor rendered negative results.
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      Eventually, failures of payments occurred with respect to the project, and

after a series of arbitrations, litigation and a filed bankruptcy by Westgate, the

Illinois Appellate Court reviewed, (among others), the issue of whether the

UFTA was violated when, in winding down Westgate, Burnham disbursed all

the company’s assets to themselves and other unsecured creditors when they

knew their potential liability to plaintiff there on its arbitration claim. The Illinois

Appellate Court concluded that:

      First, under the [IUFTA], where the debtor is a corporation, like Westgate,
      an ‘insider’… also includes the managing agent of Westgate. 740 ILCS
      160/2(g)(4), (5) (West 2012). Burnham, as the managing agent of Westgate,
      constituted an insider. Robert Halpin was also an insider, as the sole
      member of Burnham, which held a 90% interest in Westgate and was in
      control. Lori Halpin was also an insider under the Act, as the “relative of a
      person in control.”

Id., at 29 N.E.3d 538. Importantly, the appellate court’s finding that Burnham

was Westgate’s managing agent under the IUFTA was in recognition of the facts

that Burnham - an LLC - agreed, pursuant to a development agreement, to

provide specific services and undertake duties within a commercial relationship

between business entities. That development agreement also provided for the

duties of the project manager, Burnham. Also, Burnham’s sole member

(Halperin) as the managing agent, was found to be an insider, and, in turn, his

wife was also an insider because she was a relative of a person in control.




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      Unlike the facts in A.G. Cullen Constr., Inc. v. Burnham Partners, there

existed no such relationship between Gouletas and Ms. Touris which makes her

Gouletas’s managing agent within the meaning of the IUFTA, despite plaintiff’s

attempt to create one. There is no agreement creating any business relationship

providing that any duties were to be performed by her on his behalf, and no

employment agreement existed between them. Certainly, no agency relationship

has been alleged, nor facts pled, which can suggest the existence of any such

relationship.

      Analogously, in Heater v. Chesapeake & Ohio Railway Co., 497 F.2d 1243 (7th

Cir. 1974) the Seventh Circuit considered the definition of “managing agent” in

the corporate context as was called for by former FED. R. CIV. P. 43(b), which

then provided that:

      A party may call an adverse party or an officer, director or managing agent
      of a public or private corporation which is an adverse party…

The court of appeals considered this provision and ruled that:

      An employee is a ‘managing agent’ only if he acts with supervisory
      authority, being invested with general powers to exercise his discretion
      and judgment in dealing with corporate matters and his interests are
      identified with those of the corporation.

Heater, at 497 F.2d 1247-48 (citations omitted).

      Again, consistent with the Illinois Appellate Court’s conclusion in the

IUFTA context, the Seventh Circuit determined that a managing agent is a status


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which exists within the corporate business relationship, and that the term’s

definitional qualities include supervisory authority, powers to use discretion and

judgments, and common interests with the person’s corporate entity. There are

simply no such qualities presented, (and certainly none alleged), to have existed

between these friends, Ms. Touris and Gouletas. Ultimately, there is nothing

factual in plaintiff’s complaint which establishes that Ms. Touris was Gouletas’s

managing agent, and thereby, an insider under the IUFTA.

      For these reasons, the complaint fails to state a claim for which relief can

be granted against Ms. Touris on the basis that she was Gouletas’s managing

agent, requiring that Count I be dismissed.

      2.    Plaintiff’s Claim Under §6(a) Fails to State a Claim for Relief.

      At Count IV plaintiff purports to state a claim pursuant to the IUFTA §6(a)

and alleges that Ms. Touris received four cash transfers which are voidable

because “Gouletas made the Cash Transfers without receiving a reasonably

equivalent value in exchange for these transfers.” (Doc. 11 at ¶78) However, this

claim also fails because no facts are pled to show that Gouletas was insolvent

within the meaning of the IUFTA.

      “The elements of a cause of action under §6(a) of the UFTA are: (1) a

transfer was made by the debtor; (2) the debtor made the transfer without

receiving a reasonably equivalent value in exchange for the transferred property;


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and; (3) the debtor either was insolvent at the time of the transfer or became

insolvent as a result of the transfer.” In re Zeigler, 320 B.R. 362, 375 (Bankr. N.D.

Ill. 2005) (citations omitted). The IUFTA specifies that “[a] debtor is insolvent if

the sum of the debtor’s debts is greater than all of the debtor’s assets at a fair

valuation” (740 ILCS 160/3(a)), and, further, that “[a] debtor who is generally not

paying his debts as they become due is presumed to be insolvent.” (740 ILCS

160/3(b)).

      In this instance, plaintiff fails to plead facts stating that Gouletas was

legally insolvent at the time that the transfers were made to Ms. Touris in 2015,

or, became insolvent as a result of these transfers - including by way of

presumptive insolvency. While the complaint alleges that Gouletas filed for

Chapter 7 bankruptcy on January 17, 2016, this was actually a year after the first

transfer complained of was made to Ms. Touris, and approximately eight months

after the last such alleged transfer. (Doc. #11 at ¶83) Moreover, plaintiff offers

no facts to support its general and conclusory statement that Gouletas became

insolvent as a result of these alleged Cash Transfers to Ms. Touris. (Id. at ¶80)

      Furthermore, plaintiff distorts the IUFTA’s insolvency definition in stating

that “Gouletas was generally not paying all of his debts as they became due;”

this is in an apparent attempt to invoke §3(b)’s insolvency by presumption

definition, and thereby trigger the Act’s application. (Doc. #11 at ¶9) Actually,


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the IUFTA’s §3(b) provides that “[a] debtor who is generally not paying his debts

as they become due is presumed to be insolvent.” (740 ILCS 160/3(b)) The

words “all of” are not found in the law, but they are added in the complaint.

This certainly suggests that the IUFTA’s authority should not be invoked in the

case of some debts not being paid, while others are. In other words, the law does

not lend itself to situations where a debtor may generally be paying his debts but

fails to pay only certain debts. See, In re Unglaub, 332 B.R. 303 (Bankr. N.D. Ill

2005) (“Evidence that a debtor failed to pay some debts is not sufficient to prove

that he is generally not paying his debts and, thus, will not give rise to a

presumption that the debtor was insolvent at or near the time of the

alleged fraudulent transfer” under UFTA. Citing, Schempp v. Lucre Mgmt. Group,

LLC, 75 P.3d 1157, 1164 (Colo. Ct. App. 2003)).

      Accordingly, liability under the IUFTA §6(a) cannot be pled, as plaintiff

seeks to do, by claiming that Gouletas was legally insolvent because he failed to

pay “all of” his creditors because the law actually requires for him to have

“generally not [been] paying his debts as they became due.” This contradicts

plaintiff’s claim that Gouletas’s failure to pay some unidentified “unfavored

creditors” while, at the same time admitting that he did “routinely pay” others,

violates the Act. (Doc. #11 at ¶9) It does not. Therefore, Count IV fails to state

facts supporting a claim under the IUFTA’s §6(a).


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       At the same time, plaintiff does allege that as of March 31, 2013 Gouletas

had a net worth of $25,287,560 and “was flush with cash” in the amount of

$240,000. (Doc. #11 at ¶¶8,9) The complaint further alleges that the outstanding

judgments against Gouletas by January 23, 2014 totaled $12,522,130. According

to plaintiff then, Gouletas had a positive net worth as January 23, 2014 in the

amount of approximately $12,765,430. (Doc. #11 at ¶¶12-14) Because plaintiff is

otherwise silent as to any time reference which establishes Gouletas’s insolvency

within the meaning of the IUFTA, (other than the date of his Bankruptcy filing in

2016), it has failed to plead facts establishing that Gouletas was legally insolvent

at the time of any alleged transfers to Ms. Touris in 2015. On the contrary, the

complaint actually pleads facts demonstrating that Gouletas was solvent at the

time of these transfers, while pleading no facts to show that he eventually

became insolvent as a result of these particular transfers.

       For these reasons Count IV also requires that it be dismissed.

III.   The Complaint Fails to State Claims under its Purported Common Law
       Theories at Counts V, VI and VII.

       In addition to its IUFTA statutory based claims, plaintiff further alleges

various common law claims against Ms. Touris. However, plaintiff’s inadequate

factual allegations support none of these in stating claims for which relief can be

granted, and these counts are even less sustainable in light of Rule 9(b)’s

heightened pleading requirement for fraud claims.

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      1.     No Claim for Civil Conspiracy to Commit Fraud is Pled.

      Although the complaint purports to allege a claim for civil conspiracy to

commit fraud at Count V, the limited facts that are pled fail to do so. Even the

case upon which plaintiff relies in support of this claim actually rejects it. In that

case, the Bankruptcy Judge instructed that:

      A complaint need not contain detailed factual allegations, but "the grounds
      of his entitlement to relief requires more than labels and conclusions, and a
      formulaic recitation of the elements of a cause of action will not do." [Bell
      Atlantic Corp. v. Twombly, 127 S.Ct. 1955, at 1964-65 (2007)] (internal
      quotations omitted). Factual allegations must show that the right to relief
      is more than speculative and "state a claim to relief that is plausible on its
      face." Id., at 1965… The "circumstances constituting fraud" include "the
      identity of the person who made the misrepresentation, the time, place and
      content of the misrepresentation, and the method by which the
      misrepresentation was communicated to the plaintiff." Vicom, Inc. v.
      Harbridge Merch. Servs., Inc., 20 F.3d 771, 777 (7th Cir.1994). "This means the
      who, what, when, where, and how...." DiLeo v. Ernst & Young, 901 F.2d 624,
      626 (7th Cir.1990).

In re Restaurant Development Group, Inc., Debtor., Paloian v. Greenfield, 397 B.R. 891,

896 (Adversary Complaint) (Bankr. N.D. Ill. 2008), (“Paloian”). In Paloian, the

bankruptcy court also recognized that the elements for a civil conspiracy in

Illinois include: (i) an agreement between of two or more persons, (ii) for the

purpose of accomplishing, by some concerted action, either an unlawful purpose

or a lawful purpose by unlawful means, (iii) in furtherance of which one of the

conspirators committed an overt tortious or unlawful act. Id. at 896-97. As in

Paolian, this case requires that allegations of fraud must properly be pled to


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comply with Fed.R.Civ.P. 9(b). Id. at 896, citing: Borsellino v. Goldman Sachs Group,

Inc., 477 F.3d 502, 507 (7th Cir.2007). Under Rule 9(b), in "averments of fraud or

mistake, the circumstances constituting fraud or mistake shall be stated with

particularity." Id. (quoting Fed. R.Civ.P. 9(b)).

      Importantly, in Paloian, the defendants (attorneys) conspired with their

debtor (client) to effectuate fraudulent transfers from the debtor by knowingly

creating back-dated documents in furtherance of the fraudulent transfer. Id., at

897. There, plaintiff pled facts establishing that defendants agreed to unlawfully

back-date transfers which it knew to be fraudulent. Equally important is the fact

that, unlike in Paolian, it is not alleged here that Ms. Touris back-dated any

checks which she wrote, nor that she made any misrepresentations to anyone

with respect to those checks.

      Plaintiff’s lack of facts showing that Ms. Touris unlawfully made any

alleged transfers which she knew to be fraudulent is a difference that is fatal to

plaintiff’s claim. The Illinois Supreme Court has clearly stated that:

      Civil conspiracy is an intentional tort and requires proof that a
      defendant ‘knowingly and voluntarily participates in a common
      scheme to commit an unlawful act in an unlawful manner. [citation
      omitted.] Accidental, inadvertent, or negligent participation in a
      common scheme does not amount to conspiracy. [citation
      omitted.] Similarly, [a] defendant who innocently performs an
      act which happens to fortuitously further the tortious purpose
      of another is not liable under the theory of ‘civil conspiracy.’
      [citation omitted.]


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McClure v. Owens Corning Fiberglas Corp., 188 Ill. 2d 102,133 (1999). But here,

plaintiff merely states with prohibited “conclusions, and a formulaic recitation,”

that Ms. Touris “entered into an agreement” but does not state with particularity

any facts evidencing any such agreement, or that show the circumstances

constituting any alleged fraud. In fact, the complaint is careful to avoid alleging

that Ms. Touris was knowingly a part of Gouletas’s plan by merely stating that

she acted “[p]ursuant to Gouletas’s plan” [not hers] in the payment of his

expenses. Plaintiff never pleads facts stating that she agreed to that plan, or even

was aware that Gouletas had a fraudulent plan. (Id., at ¶22)

      Likewise, because nothing is pled stating that Ms. Touris either (1) had

known of the citations against him, or (2) had known of any fraudulent intent on

Gouletas’s part, plaintiff has not pled facts that allege that Ms. Touris acted in a

manner “for the purpose of accomplishing, by some concerted action, either an

unlawful purpose or a lawful purpose by unlawful means.” In alleging only that

Ms. Touris was a personal friend to whom Gouletas turned to assist him to evade

his creditors, (Doc. #11 at ¶20), without any particular facts pled showing that

she agreed to assist him in that endeavor, or knew that she was assisting him in

fraud, plaintiff simply cannot support this claim.

      Ultimately, the complaint merely implies that Gouletas ensnared Ms.

Touris to assist in his plan of alleged fraud. The glaring realization that is taken


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away from this complaint is its failure to allege any facts to support its

contention that Ms. Touris, a friend and an interior designer, had, or should have

had, knowledge of either Gouletas’s plan, his citation problems, or, that his

request to her was to actually further Gouletas’s alleged fraud. Plaintiff cannot

meet its Rule 9(b) heightened pleading burden by simply pleading fraud through

implication.

      2.       No Claim for Aiding and Abetting Fraud is Pled.

      Neither does plaintiff’s claim for aiding and abetting fraud at Count VI

survive the same heightened pleading scrutiny as is required for Count V. In this

instance, plaintiff simply provides conclusions stating that Ms. Touris was:

      [A]ware of [her] role in Gouletas’ fraudulent transfer schemes when [she]
      provided assistance to Gouletas in the accomplishment his fraudulent
      transfer scheme, [and that Ms. Touris] provided knowing and substantial
      assistance to Gouletas in the implementation and execution of Gouletas’
      fraudulent transfer scheme…[and that she] knowingly induced,
      participated and assisted in actively defrauding Gouletas’ creditors
      through the implementation and execution of Gouletas’ fraudulent
      transfer scheme…
(Doc. #11 at ¶¶86 and 87). But, again, the complaint here offers only “labels and

conclusions, and a formulaic recitation of the elements of a cause of action.” This

claim is made without any pled facts establishing (1) how Ms. Touris was

“aware” of Gouletas’s fraudulent intent without even an allegation that she

knew of his citations or lawsuits, (2) how she knowingly assisted him in

implementing his fraudulent intent, without any factual assertion that she

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actually knew of it, and (3) how, when and whom did she “induce” to participate

in the fraud for which there is no fact pled to establish that she had knowledge of

the fraud.

      The Paloian court also reminded that: “To state a claim for aiding and

abetting, one must allege that: (i) the party whom the defendant aids performed

a wrongful act causing an injury, (ii) the defendant was aware of his role when

he provided the assistance, and (iii) the defendant knowingly and substantially

assisted the violation. Paloian, at 397 B.R. 897, citing: Hefferman v. Bass, 467 F.3d

596, 601 (7th Cir. 2006). In Paolian, the court concluded, from very different facts

than those pled here, that the Attorney-Defendants knowingly induced,

participated and assisted their client-debtor to deliberately defraud its creditors

by knowingly creating back-dated documents. Paolian, at 397 B.R. 898.

      In contrast, even a liberal reading of this complaint shows that, while

reciting the elements required for this claim, plaintiff has not stated facts

establishing that Ms. Touris was aware of her role in assisting Gouletas’s alleged

fraudulent transfers, or knowingly assisted him in any wrongful act by knowing

of his alleged fraudulent intent. Indeed, this complaint merely states conclusions

which Rule 9(b)’s heightened pleading requirement rejects. Therefore, Count VI

should also be dismissed.




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      3.     No Claim for Tortious Interference is Pled.

      Plaintiff also purports to state a claim fashioned as “tortious interference

with expectancy of collection upon judgments against Gouletas” at Count VII.

Unfortunately, the complaint continues to offer only “labels and conclusions, and

a formulaic recitation of the elements of a cause of action,” disfavored by the

Supreme Court in Twombly, supra.

      Illinois law is clear in that:

             [T]o prevail on a claim for tortious interference with a prospective
             economic advantage, a plaintiff must prove: (1) his reasonable
             expectation of entering into a valid business relationship; (2) the
             defendant's knowledge of the plaintiff's expectancy; (3) purposeful
             interference by the defendant that prevents the plaintiff's legitimate
             expectancy from ripening into a valid business relationship; and (4)
             damages to the plaintiff resulting from such interference.

Fellhauer v. City of Geneva, 142 Ill. 2d 495, 511 (Ill. 1991); also see: Clarage v. Kuzma,

342 Ill. App. 3d 573, (3d Dist. 2003); GTC Fin. Servs., Ltd. v. Asset Builders Assocs.,

LLC, Case No. 13-CV-08605 (N.D. Ill. Lee, J. 2014).

      Again, since plaintiff has not pled facts with particularity either (1)

alleging that Ms. Touris was even aware of any such judgments or citations, or

(2) claiming that Ms. Touris had knowledge of the judgment-creditors’ alleged

expectancies in satisfying their judgments against Gouletas, this claim fails.

Plaintiff offers no particular facts showing that Ms. Touris purposefully

interfered to prevent any of Gouletas’s judgment-creditors’ “legitimate


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expectancy to collect their judgments” because it does not allege that Ms. Touris

was aware that their expectancies even existed in the first place.

      Therefore, Count VII should be dismissed for plaintiff’s failure to state a

claim upon which relief can be granted on this theory as well.


IV.   The Complaint Fails to Satisfy the Heightened Pleading Requirements
      of FED. R. CIV. P. 9(b) As to All Counts.

      Rule 9(b) requires that “[i]n alleging fraud or mistake, a party must state

with particularity the circumstances constituting the fraud or mistake.” This

particularity requirement demands a higher degree of notice than that required

for other claims. The "circumstances constituting fraud" include "the identity of

the person who made the misrepresentation, the time, place and content of the

misrepresentation, and the method by which the misrepresentation was

communicated to the plaintiff." Vicom, Inc. v. Harbridge Merch. Servs., Inc., 20 F.3d

771, 777 (7th Cir.1994). "This means the who, what, when, where, and how...."

DiLeo v. Ernst & Young, 901 F.2d 624, 626 (7th Cir.1990). This requirement insures

that defendants have fair notice of plaintiffs' claims and grounds, providing

defendants an opportunity to frame their answers and defenses. Reshal Assocs.,

Inc. v. Long Grove Trading Co., 754 F. Supp. 1226, 1230 (N.D.Ill.1990). This

heightened pleading standard applies to all "averments of fraud," regardless of




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whether those averments pertain to a "cause of action" for fraud. Borsellino v.

Goldman Sachs Group, Inc. 477 F.3d 502, 507 (7th Cir. 2007).

        This complaint clearly does not allege with particularity the following

circumstances in claiming that Ms. Touris committed fraud: (1) to whom did Ms.

Touris make any such misrepresentation, (2) when was any misrepresentation

made by her, (3) where was any misrepresentation made by her, (4) what was the

misrepresentation, that is, what is the content of any misrepresentation made by

her, and (5) how was (the manner in which) any misrepresentation made by her

communicated to plaintiff’s underlying judgment-creditors.

        Other than generally alleging that Ms. Touris was a friend of Gouletas to

whom he requested that she deposit funds into her checking accounts for

payment of his expenses, and thereafter paid expenses “pursuant to Gouletas’s

plan,” without any facts showing that she was aware of his “plan” (Doc. #11 at

¶22), the complaint remains without any of the particular facts providing for the

circumstances which Rule 9(b) demands. Accordingly, Counts I, IV, V, VI and

VII of the complaint should also be dismissed because they fail to plead facts

which satisfy Rule 9(b)’s heightened pleading requirements for fraud.

V.      Attorneys’ Fees Are Not Recoverable Under the IUFTA.

        The complaint contains a single prayer, seemingly encompassing all eight

of its counts alleged against all of its 32 defendants. Included within that single


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prayer is a general request for attorney’s fees. However, any such request

relative to Counts I and IV against Ms. Touris is disallowed by Illinois law.

Attorneys’ fees are not recoverable under the IUFTA.

      In Bank of America v. WS Management, Inc., 2015 IL App (1st) 132551 at ¶121

the Illinois Appellate Court ruled that:

      Although here, plaintiff sought punitive damages in its complaint, the
      circumstance remains that the current version of the Fraudulent Transfer
      Act does not specify that attorney fees are recoverable and Illinois courts
      generally refuse to allow recovery for attorney fees unless the statute
      specifically states that “attorney fees” are recoverable. See Negro Nest, LLC,
      362 Ill. App. 3d at 649. We decline to follow plaintiff’s cited cases from
      other states that provide for attorney fees or punitive damages for a
      fraudulent transfer claim.

Accordingly, that part of plaintiff’s prayer should be stricken to the extent that it

seeks fees by way of the IUFTA.

                                       Respectfully submitted,

                                       DOROTHEA TOURIS

                                       By:      Nicholas G. Grapsas
                                                Her Attorney



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                             CERTIFICATE OF SERVICE

       I certify that on June 18, 2018, I electronically filed the foregoing pleading with
the Clerk of the Court for the United States District Court for the Northern District,
Eastern Division, by using the Clerk of Court’s CM/ECF system.

    Participants in the case who are registered CM/ECF users will be served by the
CM/ECF system.

                                 /s/ Nicholas G. Grapsas
                                 NICHOLAS G. GRAPSAS




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